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                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA


  UNITED STATES OF AMERICA                      *    CRIMINAL NO. 16-CR-00183-02


  VERSUS                                        *    JUDGE FOOTE


  MICHAEL MCDANIEL                              *    MAG. JUDGE WHITEHURST

             REPORT AND RECOMMENDATION ON FELONY
     GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and

 oral consent of the defendant, this matter has been referred by the District Court for

 administration of Guilty Plea, and Allocution under Rule 11 of the Federal Rules of

 Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of

 plea hearing and allocution of the defendant, MICHAEL MCDANIEL, on April 25, 2017.

 Defendant was present with his counsel Albert M. Fong.

        After said hearing, and for reasons orally assigned, it is the finding of the

 undersigned that the defendant is fully competent, that his plea of guilty is knowing and

 voluntary, and his guilty plea to Count ONE of the Indictment, is fully supported by a

 written factual basis for each of the essential elements of the offense.

        Therefore the undersigned U.S. Magistrate Judge recommends that the District

 Court ACCEPT the guilty plea of the defendant, MICHAEL MCDANIEL, in accordance

 with the terms of the plea agreement filed in the record of these proceedings, and that
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 MICHAEL MCDANIEL be finally adjudged guilty of the offense charged in Count One

 of the Indictment.

        THUS DONE AND SIGNED in chambers in Lafayette Louisiana this 26th day of

 April, 2017.
